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March 7, 2008

Honorable Peter G, Sheridan, U.S.D.J.
United States District Court

District of New Jersey

Martin Luther King, Jr. Federal Building
‘and U.S. Courthouse

50 Walnut Street

Newark, New Jersey 07101

Re:  Silver-Fagan, et al. v. Jaffe, et als.
Civil Action No,: 08-cv-640 (PGS)

Dear Judge Sheridan,

Kindly be advised that we are counsel for the Defendants David H. Jaffe (“D.
Jaffe”), Margaret E. Jaffe (“M. Jaffe’), Kenn Kimm Rogers (“K. Rogers”) and Mindy
Jaffe Rogers (“M. Rogers”) and Additional Defendants for Injunctive Relief. Kindly
accept this correspondence as a formal request to extend the date upon which the
Defendants oppose and cross-move against Plaintiffs’ Supplemental Motion for Limited
Jurisdictional Discovery and other requests.

On February 6, 2008, the Plaintiffs moved for Summary Remand in the above-
captioned action. The Court set March 3, 2008 as the applicable return date for this
motion.

On February 21, 2008, the Plaintiffs moved for Limited Jurisdictional Discovery
and other related requests, however Counsel did not receive a copy of these documents
until February 25, 2008, by facsimile. Plaintiffs’ Notice of Motion for Limited
Jurisdictional Discovery listed March 3, 2008 as the applicable return date. Pursuant to
L. Civ. R. 7(d)(1), counsel was aware that March 3, 2008 return date would most likely
be reset, in order to accommodate the 24 day time period. As the Defendants were not
served with the papers until February 25, 2008, it was the Defendants understanding that
the appropriate return date would be March 24, 2008’,

' As per the return dates as recited in the New Jersey Lawyers’ Diary.
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On February 26, 2008, the motion was carried to March 17, 2008. From the time
that the papers were served upon the Defendants to the set motion date was only 21 days.
As such, counsel now asks that the return date be reset to March 24, 2008, thus
complying with L. Civ. R. 7(d)(1) and providing the Defendants with an opportunity to
respond in kind. The Defendants had every intention of filing opposition papers and a
cross-motion for a protective order, pursuant to Fed. R. Civ. P. 26(c).

Thus, the Defendants respectfully seek either; (1) the reset of the return date for
the pending motions in the above-referenced matter to March 24, 2008, which would
allow the Defendants to file their cross-motion and opposition papers by March 10, 2008
and allow the Plaintiffs an opportunity to respond by March 17, 2008; or (2) extend the
time period in which the Defendants can file their cross-motion and opposition papers to
March 10, 2008 and allow the Plaintiffs to file a response by March 14, 2008.

Thank you in advance for your time and consideration on this matter and please
feel free to contact me should have any additional questions, concerns or suggestions.

Sipecerely.
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Y, te Han LAA

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ce: Edward D. Fagan (via Facsimile 646-304-6446 only)
Elizabeth Silver Fagan (via Regular Mail)

